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LAWRENCE G. WASDEN
Attorney General
State of Idaho
Office of the Attorney General

KATHARINE B. BRERETON, ISBA #9583
kbrereton@lclattorneys.com
PETER C. ERBLAND, ISBA #2456
perbland@lclattorneys.com
LAKE CITY LAW GROUP PLLC
435 W. Hanley Avenue, Suite 101
Coeur d'Alene, ID 83815
Telephone: (208) 664-8115
Facsimile: (208) 664-6338

Attorney for Defendants


                            UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

PETER PERLOT, MARK MILLER, and                     Case No. 3:22-cv-00183-DCN
RYAN ALEXANDER,
                                                   SUPPLEMENTAL DECLARATION OF
              Plaintiffs,                          LINDSAY EWAN

              v.

C. SCOTT GREEN, President of the University
of Idaho, BLAINE ECKLES, Dean of Students,
ERIN AGIDIUS, Director of the Office of Civil
Rights & Investigations, and LINDSAY
EWAN, Deputy Director of the Office of Civil
Rights and Investigations, all individually and
all in their official capacities.

              Defendants.


LINDSAY EWAN, being first duly sworn upon oath, deposes and states:

       1.     I am an adult citizen of the United States, am competent to testify to the matters

stated herein, and make this declaration based on my own personal knowledge.



SUPPLEMENTAL DECLARATION OF LINDSAY EWAN - 1
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       2.      I am the Deputy Director of the University of Idaho’s Office of Civil Rights and

Investigations (“OCRI”) and at all relevant times served in that capacity.

       3.      As part of OCRI’s review of various communications shared with the office

stemming from the report made by Jane Doe, I reviewed an email sent by Miller on April 2, 2022,

to Perlot, Alexander, other student members of CLS, and select faculty members. This email was

forwarded to other students and eventually forwarded to OCRI. Jane Doe was aware of this email

sent by Miller and she reported to me that CLS members had expressed their plan to continue to

harass the LGBTQA community. Attached hereto as Exhibit A is a true and correct copy of the

email sent by Miller which was provided to OCRI.

       4.      With respect to Jane Doe’s report regarding the note Perlot left for her at her study

carrel, Ms. Doe provided OCRI a copy of the note to OCRI. OCRI considered this note along with

other information when determining the propriety of issuing a mutual no-contact order. Attached

hereto as Exhibit B is a true and correct copy of the note written by Perlot to Jane Doe.

       5.      I also spoke with other students who had knowledge of the events occurring at the

Unity Event. Not only did Jane Doe report to me that Miller and other members of CLS, including

Perlot, made statements that homosexuality was a sin and sinners would go to hell unless they

changed [their sexuality], but I received a report from one student and one faculty member who

stated that members of CLS made the comment that sinners would “swing from the gallows of

hell.” I also received reports from an additional three students and another faculty member

confirmed these statements were made at the Unity Event.

       I declare under penalty of perjury pursuant to the laws of the state of Idaho that the

foregoing is true and correct.

//



SUPPLEMENTAL DECLARATION OF LINDSAY EWAN - 2
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    DATED this 24th day of May, 2022.



                                        /s/ Lindsay Ewan
                                        LINDSAY EWAN




SUPPLEMENTAL DECLARATION OF LINDSAY EWAN - 3
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 24th day of May, 2022, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

 Matthew C. Williams
 WILLIAMS LAW, PLLC                              : Email matt@willimslawoffice.net
 812 First St. S.
 Nampa, ID 83651
 Attorney for Plaintiffs


 Tyson C. Langhofer
 Michael R. Ross                                 : Email tlanghofer@ADFlegal.org
 Matthew W. Hoffman                              : Email mross@ADFlegal.org
 ALLIANCE DEFENDING FREEDOM                      : Email mhoffman@ADFlegal.org
 44180 Riverside Pkwy.
 Lansdowne, VA 20176
 Attorneys for Plaintiffs
 Admitted Pro Hac Vice



                                                  /s/ Nicky Hastings
                                                  Nicky Hastings




SUPPLEMENTAL DECLARATION OF LINDSAY EWAN - 4
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    Subject: Re: yesterday

    All we have is our faith, my friends. Jesus + nothing = everything.
    Everything — Jesus = nothing.
    Remember the words of our LORD, “if you belonged to the world, it
    would love you as its own. As it is, you do not belong to the world,
    but I have chosen you out of the world. That is why the world hates
    you.” - John 15:19.
    The sole reconciliation between us in the world and God—is our
    Savior, Jesus Christ. Thus, we should not think of ourselves as better
    than those still in the world. “For by grace you have been saved
    through faith. And this is not your own doing; it is the gift of God,
    not a result of works, so that no one may boast.” - Ephesians 2:8-9.
    Understand the meaning of the parable in Luke 18, when “the
    Pharisee stood by himself and prayed: ‘God, I thank you that I am not
    like the other people—robbers, evildoers, adulterers—or even like
    this tax collector.’”
    Know, brethren, that the only difference between the people I
    proclaimed a small part of the Gospel to yesterday and us in the faith
    is the Grace of God.
    The Holy Spirit is convicting me to remember that I too was once in
    the flesh, “separated from Christ, alienated from the commonwealth
    of Israel and strangers to the covenants of promise, having no hope
    and without God in the world.” - Ephesians 2:12.
    I did not enjoy the pain in peoples’ faces as they reacted to my words
    yesterday. I was doing my best to answer that lady’s question in love
    and truth. Unfortunately, I still suffer from the consequences of sin
    and thus am fallible. I do stand by everything I said…
    I know that “to everything, there is a season and a time for every
    purpose under heaven.” – Ecclesiastes 3:1. If that ordeal was not an
    opportunity to share the Gospel, I do not know what is. When we
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    look at the evangelistic acts of the apostles, we see them first present
    Christ as Judge, then as Savior. If we do not help people
    grasp why they need a Savior, then the role of the Savior is
    meaningless in their lives, and we are at risk of creating false
    converts.
    If you take my faith away from me, you have left me stranded in the
    wilderness, bare naked, starving, with zero points of reference, and
    with absolutely nothing. My friends have heard me say that I am
    prepared to defend the name of Christ straight to the guillotine—so
    also, I am to the dismay of a post-modern law school
    administration. “For I am not ashamed of the gospel, because it is the
    power of God that brings salvation to everyone who believes: first to
    the Jew, then to the Gentile.” - Romans 1:16.
    I did not speak for CLS as a group yesterday and am still unsure how
    that whole event transpired. I can only speak from the lips of man.
    Still, God has given us His word. And because God is incapable of
    lying (Titus 1:2), we know His word is infallible. If we make God
    into anything other than what He has revealed to us, then we have
    made God into our own image—simultaneously violating the first
    and second commandments. - Exodus 20:1-4.
    The Word is clear as day: “Do you not know that the unrighteous will
    not inherit the kingdom of God? Do not be deceived. Neither
    fornicators, nor idolaters, nor adulterers, nor homosexuals, nor
    sodmoties, nor thieves, nor covetous, nor drunkards, nor revilers, nor
    extortioners will inherit the kingdom of God. And such were some of
    you. But you were washed, but you were sanctified, but you were
    justified in the name of the Lord Jesus and by the Spirit of our God.”
    - 1 Corinthians 6:9-11; also see Hebrews 13:4; Revelation 21:8;
    Ephesians 5:5; Jude 1:7; Galatians 5:21; Colossians 3:5; Leviticus
    20:13; et. al.
    I only regret I did not say more, namely how I failed to better
    emphasize that, while God hates sin, and we all will be held
    accountable for our sins, there is hope in the Blood of the Lamb—
    put your trust and faith in Jesus Christ.
    God works in mysterious ways and often uses our weaknesses for His
    glory. - 2 Corinthians 12:9. I feel called to capitalize on the
    possibility that God may have planted a seed in at least one person’s
    heart yesterday. I will look for those persons' faces throughout the
    next few weeks and for any opportunity to show them a better
    example of the love that God has revealed to me. I do not expect this
    to be well-received. Remember again the words of our LORD, “woe
    to you when all men speak well of you, for their fathers treated the
    false prophets in the same way.” - Luke 6:26.
    I am so grateful for our community at this law school and our shared
    faith in Most High God. I felt it appropriate to elaborate on where I
    was coming from yesterday…
    I love you all, and I thank God for our kinship in His Kingdom.
    In Christ,
    Mark J Miller
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                         EXHIBIT B
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